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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                 TEXARKANA DIVISION

 HEALTH CHOICE ADVOCATES, LLC and                      Civil Action No.: 5:17-CV-126-RWS-CMC
 JAIME GREEN, on behalf of the UNITED
 STATES OF AMERICA; STATE OF
 ARKANSAS; STATE OF CALIFORNIA;                             JURY TRIAL DEMANDED
 STATE OF COLORADO;
 STATE OF CONNECTICUT; STATE OF
 DELAWARE; DISTRICT OF COLUMBIA;
 STATE OF FLORIDA; STATE OF GEORGIA;
 STATE OF HAWAII; STATE OF ILLINOIS;
 STATE OF INDIANA; STATE OF IOWA;
 STATE OF LOUISIANA; STATE OF
 MARYLAND; COMMONWEALTH OF
 MASSACHUSETTS; STATE OF MICHIGAN;
 STATE OF MINNESOTA; STATE OF
 MONTANA; STATE OF NEVADA; STATE OF
 NEW HAMPSHIRE; STATE OF NEW JERSEY;
 STATE OF NEW MEXICO; STATE OF NEW
 YORK; STATE OF NORTH CAROLINA;
 STATE OF OKLAHOMA; STATE OF RHODE
 ISLAND; STATE OF TENNESSEE;
 STATE OF TEXAS; STATE OF VERMONT;
 COMMONWEALTH OF VIRGINIA; and
 STATE OF WASHINGTON,

        Plaintiffs/Relators;

 v.

 BAYER CORPORATION; AMGEN INC.;
 ONYX PHARMACEUTICALS, INC.;
 AMERISOURCEBERGEN CORPORATION;
 and LASH GROUP,

        Defendants.


                                     DISCOVERY ORDER

         After a review of the pleaded claims and defenses in this action, in furtherance of the

  management of the court’s docket under Fed. R. Civ. P. 16, and after receiving the input of the

  parties to this action, it is ORDERED AS FOLLOWS:

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  1.    Disclosures. Except as provided by paragraph 1(j), within thirty (30) days after the

        Scheduling Conference, each party shall disclose to every other party the following

        information:

        (a)    the correct names of the parties to the lawsuit;

        (b)    the name, address, and telephone number of any potential parties;

        (c)    the legal theories and, in general, the factual bases of the disclosing party’s claims

               or defenses (the disclosing party need not marshal all evidence that may be offered

               at trial);

        (d)    the name, address, and telephone number of persons having knowledge of relevant

               facts, a brief statement of each identified person’s connection with the case, and a

               brief, fair summary of the substance of the information known by any such person;

        (e)    any indemnity and insuring agreements under which any person or entity carrying

               on an insurance business may be liable to satisfy part or all of a judgment entered in

               this action or to indemnify or reimburse for payments made to satisfy the judgment;

        (f)    any settlement agreements relevant to the subject matter of this action;

        (g)    any witness statements described in TEX. R. CIV. P. 192.3(h);

        (h)    in a suit alleging physical or mental injury and damages from the occurrence that is

        the subject of the case, all medical records and bills that are reasonably related to the

        injuries or damages asserted or, in lieu thereof, an authorization permitting the

        disclosure of such medical records and bills;

        (i)    in a suit alleging physical or mental injury and damages from the occurrence that is

        the subject of the case, all medical records and bills obtained by the disclosing party by

        virtue of an authorization furnished by the requesting party; and

        (j)    for any testifying expert, by the date set by the court in the Docket Control Order,

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        each party shall disclose to the other party or parties:

          i.           the expert’s name, address, and telephone number;

         ii.           the subject matter on which the expert will testify;

        iii.           if the witness is retained or specially employed to provide expert testimony in

                       the case or whose duties as an employee of the disclosing party regularly

                       involve giving expert testimony:

                       1.      all documents, tangible things, reports, models, or data compilations

                               that have been provided to, reviewed by, or prepared by or for the

                               expert in anticipation of the expert’s testimony, except to the extent

                               protected by Fed. R. Civ. P. 26(b)(4); and

                       2.      the disclosures required by Fed. R. Civ. P. 26(a)(2)(B) and Local

                               Rule CV-26.

               iv.          for all other experts, the general substance of the expert’s mental impressions

                            and opinions and a brief summary of the basis for them or documents

                            reflecting such information; and

               v.           Any party shall be excused from furnishing an expert report of treating

                            physicians unless the treating physician will offer expert testimony

                            beyond the specific treatment provided to a specific patient.

  2.    Protective Orders.         The parties agree a Protective Order is required for this case. The

        parties will submit said order to the Court for approval, including any disputes about the

        terms of the Protective Order that cannot otherwise be resolved.

   3.   Additional Disclosures. Each party, within forty-five (45) days after the Scheduling

        Conference, shall provide to every other party the following:

        (a)         a copy of all documents, data compilations, and tangible things in the possession,
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                    custody, or control of the party that are relevant to the pleaded claims or defenses

                    involved in this action. The parties agree to produce documents electronically by

                    either serving documents via electronic transfer service or through a mailed USB-

                    compatible hard drive; and

           (b)      a complete computation of any category of damages claimed by any party to the

                    action, making available for inspection and copying as under Rule 34, the documents

                    or other evidentiary material on which such computation is based, including

                    materials bearing on the nature and extent of injuries suffered; and

           (c)      those documents and authorizations described in Local Rule CV-34;

     4.    Discovery Limitations. Discovery is limited to the disclosures described in Paragraphs 1

           and 3 together with:

           (a)      Interrogatories.        Relators together may serve up to 75 interrogatories to

                    Defendants, with no more than 30 served to any one Defendant Party.1

                    Defendants together may serve up to 50 interrogatories to Relators.

           (b)      Requests for Admission. Relators together may serve up to 75 requests for

                    admission to Defendants, with no more than 30 served to any one Defendant

                    Party. Defendants together may serve up to 50 requests for admission to Relators.

           (c)      Party Depositions. The limits in this paragraph for Defendant and Relator Party

                    Depositions shall apply to depositions on written questions,2 30(b)(6) depositions

                    of the parties (including Relator affiliate National Healthcare Analysis Group

                    identified in the Parties section of the Complaint), as well as individual

 1
  There are three Defendant Parties: (1) Bayer Corporation, (2) Amgen Inc. and Onyx Pharmaceuticals, Inc., and (3)
 AmerisourceBergen Corporation and Lash Group.
 2
   Depositions by written questions directed solely to the authentication of documents do not count towards the
 limitations described in paragraphs 4(c)-(e).



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                       depositions of any persons employed by or formerly employed by any party,

                       except the Confidential Interviewees identified in the Complaint, who will be

                       treated as nonparties subject to the limits set forth in paragraph 4(d) below.3

                        i.     Exclusive of 30(b)(6) depositions, the Relators may take up to 40

                               depositions of Defendants, but no more than 15 depositions of any

                               Defendant Party. Exclusive of 30(b)(6) depositions, Defendants may take

                               up to 40 depositions of Relators.

                       ii.     In addition, Relators may take up to 21 hours of 30(b)(6) testimony of each

                               Defendant Party, and Defendants may take up to 21 hours of 30(b)(6)

                               testimony of Relators.

                      iii.     No witness shall be deposed more than 7 hours unless otherwise agreed by

                               the parties before the commencement of the deposition or ordered by the

                               Court. For witnesses currently affiliated with a party, the Side of the party

                               producing the witness may take up to 1 hour of the 7-hour limit to conduct

                               direct examination. If the Side of the producing party does not use its

                               allotted time, any remaining time may be taken by the noticing party. For

                               former employees and/or witnesses who are not under the control of any

                               party, the Side of the party most closely affiliated with the witness, such as

                               the former employer, may take up to 2 hours of the 7-hour limit to conduct

                               direct examination. The Side4 noticing the deposition may take any of the

 3
  Though the limits set forth in this paragraph for Party Depositions apply, nothing in this paragraph shall obligate a
 party to produce for deposition a former employee or person formerly affiliated with a party or party affiliate. The
 parties agree to make reasonable efforts to facilitate the depositions of former employees or persons formerly affiliated
 with a party or party affiliate, but should the witness refuse, the requesting party is not relieved of its obligation to
 follow the applicable procedure in the Federal Rules to obtain the deposition.
 4
     For purposes of all subsections of this paragraph 4, “Side” shall refer to Relators, collectively, on the one hand, and


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                            7-hour limit that remains.

           (d)      Nonparty Discovery. The parties may issue document subpoenas to third parties

                    and take depositions on written questions of custodians of business records for

                    third parties. Additionally, each Side may take up to 150 hours of nonparty

                    depositions. The parties recognize the Federal Rules of Civil Procedure limit a

                    deposition to 7 hours (see Fed. R. Civ. P. 30(d)(1)). Accordingly, the parties shall

                    split the 7-hour limit equally on each Side, i.e., Relators shall share up to 3.5

                    hours of questioning and Defendants shall share up to 3.5 hours of questioning.

                    To the extent one Side does not use their allotted time, the other Side may use any

                    of the 7-hour limit that remains, i.e., should Defendants question a witness for 1

                    hour, Relators shall have the remaining 6 hours to question the witness. To the

                    extent the witness is agreeable to sit for more than 7 hours, the same concept shall

                    apply, i.e., each Side will split the additional time, and to the extent a Side does

                    not use its time, the other Side may use it. The limits set forth in this paragraph

                    shall be exclusive of discovery of government entities, which shall be governed

                    separately by the following paragraph.

           (e)      Government Discovery. The limits in this paragraph apply to nonintervened

                    government entities identified as Plaintiffs and their government agencies, such as

                    the Center for Medicare and Medicaid Services, TRICARE, the Department of

                    Veteran Affairs, or the respective Medicaid agency for each state (“Government

                    Parties”). The parties may issue document requests or subpoenas to Government

                    Parties and take depositions on written questions of custodians of business


 the Defendants, collectively, on the other hand.



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                records for Government Parties. Additionally, each side may take up to 175

                hours of depositions of Government Parties. The parties recognize the Federal

                Rules of Civil Procedure limit a deposition to 7 hours (see Fed. R. Civ. P.

                30(d)(1)). Accordingly, the parties shall split the 7-hour limit equally on each

                Side, i.e., Relators shall share up to 3.5 hours of questioning and Defendants shall

                share up to 3.5 hours of questioning. To the extent one Side does not use their

                allotted time, the other Side may use any of the 7-hour limit that remains, i.e.,

                should Defendants question a witness for 1 hour, Relators shall have the

                remaining 6 hours to question the witness. To the extent the witness is agreeable

                to sit for more than 7 hours, the same concept shall apply, i.e., each Side will split

                the additional time, and to the extent a Side does not use its time, the other Side

                may use it.

        (f)     Experts. Each Side may have up to 10 experts.

        Any party may move to modify these limitations for good cause.

  5.    Privileged Information. There is no duty to disclose privileged documents or information.

        However, the parties are directed to meet and confer concerning privileged documents or

        information after the Scheduling Conference. By the date set by the court in the Docket

        Control Order, the parties shall exchange privilege logs identifying the documents or

        information and the basis for any disputed claim of privilege in a manner that, without

        revealing information itself privileged or protected, will enable the other parties to assess the

        applicability of the privilege or protection. Any party may move the court for an order

        compelling the production of any documents or information identified on any other party’s

        privilege log. If such a motion is made, the party asserting privilege shall respond to the

        motion within the time period provided by Local Rule CV-7. The party asserting privilege

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        shall then file with the Court within thirty (30) days of the filing of the motion to compel

        any proof in the form of declarations or affidavits to support their assertions of privilege,

        along with the documents over which privilege is asserted for in camera inspection. If the

        parties have no disputes concerning privileged documents or information, then the parties

        shall inform the court of that fact within sixty (60) days after the date set by the court in

        the Docket Control Order to exchange privilege logs.

  6.    Pre-trial disclosures. Each party shall provide to every other party regarding the evidence

        that the disclosing party may present at trial as follows:

        (a)    The name and, if not previously provided, the address and telephone number, of each

               witness, separately identifying those whom the party expects to present at trial and

               those whom the party may call if the need arises.

        (b)    The designation of those witnesses whose testimony is expected to be presented by

               means of a deposition and, if not taken stenographically, a transcript of the pertinent

               portions of the deposition testimony.

        (c)    An appropriate identification of each document or other exhibit, including summaries

               of other evidence, separately identifying those which the party expects to offer and

               those which the party may offer if the need arises.

        These disclosures shall be made at least 30 days before trial. Within 14 days thereafter,

        unless a different time is specified by the court, a party may serve and file a list disclosing

        (1) any objections to the use under Rule 32(a) of a deposition designated by another party

        under subparagraph (B) and (2) any objections, together with the grounds therefor, that may

        be made to the admissibility of materials identified under subparagraph (C). Objections not

        so disclosed, other than objections under Rules 402 and 403 of the Federal Rules of



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        Evidence, shall be deemed waived unless excused by the court for good cause shown.

  7.    Signature. The disclosures required by this order shall be made in writing and signed by

        the party or counsel and shall constitute a certification that, to the best of the signer’s

        knowledge, information and belief, such disclosure is complete and correct as of the time it

        is made. If feasible, counsel shall meet to exchange disclosures required by this order;

        otherwise, such disclosures shall be served as provided by Fed. R. Civ. P. 5. The parties

        shall promptly file a notice with the court that the disclosures required under this order have

        taken place.

  8.    Duty to Supplement. After disclosure is made pursuant to this order, each party is under

        a duty to supplement or correct its disclosures immediately if the party obtains information

        on the basis of which it knows that the information disclosed was either incomplete or

        incorrect when made, or is no longer complete or true.

  9.    Disputes.

        (a)     Except in cases involving claims of privilege, any party entitled to receive
                disclosures may, after the deadline for making disclosures, serve upon a party

                required to make disclosures a written statement, in letter form or otherwise, of any

                reason why the party entitled to receive disclosures believes that the disclosures are

                insufficient. The written statement shall list, by category, the items the party entitled

                to receive disclosures contends should be produced. The parties shall promptly meet

                and confer. If the parties are unable to resolve their dispute, then the party required

                to make disclosures shall, within fourteen (14) days after service of the written

                statement upon it, serve upon the party entitled to receive disclosures a written

                statement, in letter form or otherwise, which identifies (1) the requested items that

                will be disclosed, if any, and (2) the reasons why any requested items will not be

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                disclosed. The party entitled to receive disclosures may thereafter file a motion to
                compel.

            (b)     In addition to the requirements of Local Rule CV-7(h) and (i), within 72 hours of
                    the Court setting any discovery motion for a hearing, each party’s lead attorney

                    (see Local Rule CV-11(a)) and local counsel shall meet and confer in person or by

                    telephone, without the involvement or participation of other attorneys, in an effort

                    to resolve the dispute without Court intervention. Counsel shall promptly notify

                    the Court of the results of that meeting by filing a joint report of no more than 2

                    pages. Unless excused by the Court, each party’s lead attorney shall attend any

                    discovery motion hearing set by the Court (though the lead attorney is not

                    required to argue the motion).
            (c)    Counsel are directed to contact the Discovery Hotline provided by Local Rule CV
                   -26(e) for any "hot-line" related disputes.
  .
      10.   No Excuses. A party is not excused from the requirements of this Discovery Order because

            it has not fully completed its investigation of the case, or because it challenges the

            sufficiency of another party’s disclosures, or because another party has not made its

            disclosures. Absent court order to the contrary, a party is not excused from disclosure

            because there are pending motions to dismiss, to remand or to change venue.

      11.   Filings. Only upon request from chambers shall counsel submit to the court courtesy copies

            of any filings.

            SIGNED this 4th day of April, 2018.




                                                         ____________________________________
                                                         CAROLINE M. CRAVEN
                                                         UNITED STATES MAGISTRATE JUDGE




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